  Case 17-20612            Doc 67          Filed 06/21/18 Entered 06/21/18 10:59:31                Desc Main
                                             Document     Page 1 of 5


                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

                                                            )
       In re:                                               )          Case No. 17-20612
                                                            )          Chapter 13
       Yevgeny M. Zagorodnyuk and                           )          Honorable A. Benjamin Goldgar
       Zhanna N. Zagorodnyuk,                               )          Lake County
                           Debtor                           )

                                          NOTICE OF APPLICATION

To:    Yevgeny & Zhanna Zagorodnyuk, PO Box 70, Highland Park, IL 60035
       * Patrick Layng, U.S. Trustee, 219 S. Dearborn, Suite 873, Chicago, IL 60604
       * Glenn B. Stearns, Standing Trustee, 801 Warrenville Road, Suite 650, Lisle, IL 60532

       See attached service list of all creditors, all of whom were served via first-class mail

        PLEASE TAKE NOTICE that on July 13, 2018, at 9:30 a.m., we will appear before the Honorable
Judge A. Benjamin Goldgar, or such Judge is sitting in his stead, at the North Branch Court (Round Lake
Beach), 1792 Nicole Lane, Round Lake Beach, IL 60073, and then and there present our Attorney’s
Application for Compensation for Representing Chapter 13 Debtor, a copy of which is attached hereto
and served upon you herewith.

Dated: June 21, 2018                                        /s/ David P. Leibowitz
                                                            Lakelaw
                                                            53 W. Jackson, Suite 1115
                                                            Chicago, IL 60604
                                                            847.249.9100

                                          CERTIFICATE OF SERVICE

         On June 21, 2018, the undersigned certifies that on this date, he caused a copy of the above-
referenced document to be served upon each person shown on the attached service list, by United States
Mail, with postage prepaid, at Chicago, Illinois. Those marked above with an asterisk were served via
electronic service.

                                                            /s/David P. Leibowitz
                                                            Attorney
                  Case
Label Matrix for local    17-20612
                       noticing           Doc 67 BANKFiled  06/21/18
                                                       OF AMERICA, N.A. Entered 06/21/18 10:59:31
                                                                                            Bayview LoanDesc   Main
                                                                                                         Servicing, LLC
0752-1                                                 Document
                                                 PO Box 31785           Page 2 of 5         P.O. Box 840
Case 17-20612                                     TAMPA, FL 33631-3785                          5th Floor
Northern District of Illinois                                                                   Buffalo, NY 14240-0840
Chicago
Thu Jun 21 10:45:17 CDT 2018
U.S. Bankruptcy Court                             Alex Zagor                                    Americredit Financial Services, Inc. dba GM
Eastern Division                                  566 Haddon Circle                             P O Box 183853
219 S Dearborn                                    Vernon Hills, IL 60061-2945                   Arlington, TX 76096-3853
7th Floor
Chicago, IL 60604-1702

Archer Bank                                       Bank of America                               Bank of America NA
4970 South Archer Avenue                          P. O Box 31690                                PO Box 31785
Chicago, IL 60632-3623                            Tampa, FL 33631-3690                          Tampa, FL 33631-3785



Bank of America, N.A.                             Bank of America, N.A.                         Bayview Loan Servicing, LLC
101 S. Tryon Street                               Bank of America                               4425 Ponce De Leon Boulevard
Charlotte, NC 28255-0001                          PO Box 31785                                  5th Floor
                                                  Tampa FL 33631-3785                           Coral Gables, FL 33146-1837


Bayview Loan Servicing, LLC                       Capital One GM Mastercard                     Capital One Venture Visa
C/O McCalla Raymer Leibert Pierce, LLC            PO Bix 71107                                  PO Box 71107
1 N. Dearborn Suite 1200                          Charlotte, NC 28272-1107                      Charlotte, NC 28272-1107
Chicago, IL 60602-4337


Cavalry Spv I, LLC                                CitiMortgage, Inc.                            Citicards CBNA
Bass & Associates, P.C.                           P.O. Box 6030                                 PO Box 5000
3936 E. Ft. Lowell Road, Suite #200               Sioux Falls, SD 57117-6030                    Sioux Falls, SD 57117-5000
Tucson, AZ 85712-1083


Citimortgage Inc.                                 Fifth Third                                   GM Financial
PO Box 6243                                       38 Fountain Sq Plaza                          801 Cherry Street
Sioux Falls, SD 57117-6243                        Cincinnati, OH 45263-0001                     Suite 3500
                                                                                                Fort Worth, TX 76102-6854


Greenlight Financial Services                     JP Morgan Chase Bank NA                       JPMorgan Chase Bank N..
18200 Von Karman Ave # 300                        PO Box 47020                                  1111 Polaris Parkway
Irvine, CA 92612-1016                             Atlanta, GA 30362-0020                        Columbus, OH 43240-2050



LVNV Funding, LLC its successors and assigns      MERS                                          Mercedes-Benz Financial
assignee of Citibank, N.A.                        PO Box 2026                                   PO Box 685
Resurgent Capital Services                        Flint, MI 48501-2026                          Roanoke, TX 76262-0685
PO Box 10587
Greenville, SC 29603-0587

Nationstar Mortgage LLC                           (p)NATIONSTAR MORTGAGE LLC                    Nationstar Mortgage LLC
Att PC Trailing Documents                         PO BOX 619096                                 Manley Deas Kochalski LLC
4000 Horizon Way, Suite 100                       DALLAS TX 75261-9096                          P.O. Box 165028
Irving, TX 75063-2260                                                                           Columbus OH 43216-5028
Nationstar MortgageCase
                    LLC 17-20612          Doc 67 Nationstar
                                                   Filed 06/21/18
                                                            Mortgage LLC Entered 06/21/18 10:59:31      Desc Main
                                                                                             Ocwen Loan Servicing LLC
PO Box 650783                                         Document           Page
                                                 c/o Manley Deas Kochalski LLC 3 of 5        1661 Worthington Road, Suite 100
Dallas, TX 75265-0783                                P.O. Box 165028                                      West Palm Beach, FL 33409-6493
                                                     Columbus, OH 43216-5028


(p)PORTFOLIO RECOVERY ASSOCIATES LLC                 U.S. Bank Trust National Association                 U.S. Bank Trust National Association
PO BOX 41067                                         c/o Manley, Deas & Kochalski, LLC                    c/o Select Portfolio Servicing, Inc.
NORFOLK VA 23541-1067                                P.O. Box 165028                                      Attn: Remittance Processing
                                                     Columbus, Ohio 43216-5028                            P.O. Box 65450
                                                                                                          Salt Lake City, UT 84165-0450

UBS                                                  c/o Manley, Deas & Kochalski, LLC                    David P Leibowitz ESQ
5 Revere Drive                                       P.O. Box 165028                                      Lakelaw
Northbrook, IL 60062-8003                            Columbus, Ohio 43216-5028                            53 W. Jackson Boulevard
                                                                                                          Suite 1115
                                                                                                          Chicago, IL 60604-3566

Glenn B Stearns                                      Patrick S Layng                                      Yevgeny M Zagorodnyuk
801 Warrenville Road Suite 650                       Office of the U.S. Trustee, Region 11                PO Box 70
Lisle, IL 60532-4350                                 219 S Dearborn St                                    Highland Park, IL 60035-0070
                                                     Room 873
                                                     Chicago, IL 60604-2027

Zhanna N Zagorodnyuk
PO Box 70
Highland Park, IL 60035-0070




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Nationstar Mortgage LLC                              Portfolio Recovery Associates, LLC
Attention: Bankruptcy Department                     Successor to
PO Box 619096                                        CAPITAL ONE BANK (USA), N.A.
Dallas TX 75261-9741                                 (CAPITAL ONE BANK, N.A.)
                                                     POB 41067
                                                     Norfolk, VA 23541



                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)BANK OF AMERICA, N.A.                             (u)NATIONSTAR MORTGAGE LLC                           (u)U.S. Bank Trust National Association, as T




(u)Mercedes Benz Lease                               End of Label Matrix
                                                     Mailable recipients    42
                                                     Bypassed recipients     4
                                                     Total                  46
         Case
        Form   17-20612
             13-9          Doc 67
                  (20170105)      Filed 06/21/18 Entered 06/21/18 10:59:31 Desc Main
                                    Document       Page 4 of 5
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division
   In Re:                                 )            BK No.: 17-20612
   Yevgeny M. Zagorodnyuk and Zhanna N. )
   Zagorodnyuk,                           )            Chapter: 13
                                          )
                                          )            Honorable A. Benjamin Goldgar
                                          )            Lake County
                Debtor(s)                 )

            ATTORNEY'S APPLICATION FOR CHAPTER 13 COMPENSATION UNDER
                   THE COURT-APPROVED RETENTION AGREEMENT
                        (Use for cases filed on or after April 20, 2015)

The undersigned attorney seeks compensation pursuant to 11 U.S.C. § 330(a)(4)(B) and the Court-Approved
Retention Agreement executed by the debtor(s) and the attorney, for representing the interests of the debtor(s)
in this case.

   Use of Court-Approved Retention Agreement:

   The attorney and the debtor(s) have entered into the Court-Approved Retention Agreement.

   Attorney Certification:

   The attorney hereby certifies that:
   1.      All disclosures required by General Order No. 11-2 have been made.

   2.      The attorney and the debtor(s) have either:

           (i) not entered into any other agreements that provide for the attorney to receive:

              a.      any kind of compensation, reimbursement, or other payment, or

              b.      any form of, or security for, compensation, reimbursement, or other payment that varies
                      from the Court-Approved Retention Agreement; or

           (ii) have specifically discussed and understand that:

              a.      the Bankruptcy Code may require a debtor's attorney to provide the debtor with certain
                      documents and agreements at the start of the representation;

              b.      the terms of the Court-Approved Retention Agreement take the place of any conflicting
                      provision in an earlier agreement;

              c.      the Court-Approved Retention Agreement cannot be modified in any way by other
                      agreements; and

              d.      any provision of another agreement between the debtor and the attorney that conflicts
                      with the Court-Approved Retention Agreement is void.
      Case
     Form    17-20612
           13-9 (20170105)Doc 67 Filed 06/21/18 Entered 06/21/18 10:59:31 Desc Main
                                       Document      Page 5 of 5
Compensation sought for services in this case pursuant to the Court-Approved Retention Agreement:
  $ 4,000.00 flat fee for services through case closing

Reimbursement sought for expenses in this case:
  $       0 for filing fee paid by the attorney with the attorney's funds
  $             for other expenses incurred in connection with the case and paid by the attorney with
                the attorney's funds (itemization must be attached)

  $           0 Total reimbursement requested for expenses.

Funds previously paid to the attorney by or on behalf of the debtor(s) in the year before filing this
case and not reflected in or related to the Court-Approved Retention Agreement:
       None
      A total of $ 5,000.00.




Date of Application: 6/21/2018                Attorney Signature /s/ David P. Leibowitz
